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                              UNITED STATES DISTRICT COURT FOR
                                  THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                               )
                                                        )
                                Plaintiff,              )       8:07CR54
                                                        )
                        vs.                             )       FINAL ORDER OF
                                                        )       FORFEITURE
                                                        )
LUIS HARO-RAMIREZ,                                      )
JOSE AGUILAR-OCHOA,                                     )
RAMON ORDONEZ-LOPEZ,                                    )
                                                        )
                                Defendants.             )


        NOW ON THIS 9th day of June, 2008, this matter comes on before the Court upon the United

States’ Motion for Final Order of Forfeiture. The Court reviews the record in this case and, being

duly advised in the premises, find as follows:

        1. On April 2, 2008, the Court entered a Preliminary Order of Forfeiture pursuant to the

provisions of Title 21, United States Code, Sections 846 and 853, Title 18, United States Code,

Sections, 922(g)(1) and 924(d) and Title 28, United States Code, Section 2461(c) based upon the

Defendants’ pleas of guilty to Counts I, IV, V, VI and VII of the Indictment filed herein. By way of

said Preliminary Order of Forfeiture, the Defendants’ interest in $44,353.00 in United States

currency, a 1998 Chevrolet Blazer and a Intratec 9mm semi-automatic pistol, were forfeited to the

United States.

        2. On April 24, May 1 and 8, 2008, the United States published in a newspaper of general

circulation notice of this forfeiture and of the intent of the United States to dispose of the properties

in accordance with the law, and further notifying all third parties of their right to petition the Court

within the stated period of time for a hearing to adjudicate the validity of their alleged legal
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interest(s) in said properties. An Affidavit of Publication was filed herein on June 6, 2008 (Filing

No. 97).

       3. The Court has been advised by the United States no Petitions have been filed. From a

review of the Court file, the Court finds no Petitions have been filed.

       4. The Plaintiff’s Motion for Final Order of Forfeiture should be sustained.

       IT IS THEREFORE ORDERED, ADJUDGED AND DECREED as follows:

       A. The Plaintiff’s Motion for Final Order of Forfeiture is hereby sustained.

       B. All right, title and interest in and to the $44,353.00 in United States currency, a 1998

Chevrolet Blazer and a Intratec 9mm semi-automatic pistol, held by any person or entity, is hereby

forever barred and foreclosed.

       C. The $44,353.00 in United States currency, a 1998 Chevrolet Blazer and a Intratec 9mm

semi-automatic pistol, be, and the same hereby are, forfeited to the United States of America .

       D. The United States Marshals Service for the District of Nebraska is directed to dispose of

said properties in accordance with law.

       DATED this 9th day of June, 2008.

                                              BY THE COURT:



                                              s/ Joseph F. Bataillon
                                              JOSEPH F. BATAILLON, CHIEF JUDGE
                                              United States District Court
